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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SAGI GENGER, Civ. No.: 14-5683 (KBF)
Plaintiff,
- against -
ORLY GENGER,

Defendant.

 

 

ORLY GENGER’S MEMORANDUM OF LAW IN OPPOSITION TO
SAGI GENGER’S MOTION FOR SUMMARY JUDGMENT

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Summary judgment is appropriate if there is no “disputed material facts in light of
the substantive law.” Butcher v. Gerber Products Company, 8 F.Supp.2d 307, 313 (S.D.N.Y.
1998); Fed. R. Civ. P. 56(e). Here, disputed material issues of fact prevent summary judgment in
Sagi’s favor.' There are, however, no disputed material issues of fact preventing summary
judgment in Orly’s favor.

COUNTERSTATEMENT OF MATERIAL FACTS

The relevant material facts are set forth in two accompanying documents,
incorporated herein by reference. The first document is Orly’s Response to Sagi’s purported
Statement of Undisputed Facts (the “Orly Response”). The second document is Orly’s
Counterstatement of Material Facts and supporting exhibits (the “CSF”).

ARGUMENT

L SAGI GENGER IS NOT ENTITLED TO SUMMARY JUDGMENT (BUT ORLY
GENGER IS) BECAUSE THE SAGI PROMISE DOCUMENT AND NOVEMBER
DOCUMENT BOTH FAIL FOR LACK OF CONSIDERATION

“All contracts must be supported by consideration.” Beitner v. Becker, 34 A.D.3d
406, 407 (2d Dept. 2006). In turn, “consideration retains its contract law meaning of a bargained
for exchange.” United States v. Hardwick, 523 F.3d 94, 100 (2d Cir. 2008). Sagi contends that
Orly received “two real benefits.” Sagi Br. at 10. First, Sagi contends Orly received a “financial
windfall” in the form of “her mother’s conveyance of her marital rights in the TRI shares to the
[Orly] Trust by virtue of the Oct. 30, 2004 Promise.” Id. Second, Sagi contends Orly “received

an emotional and psychological benefit in helping to bring about an end to her parent’s bitter

 

For example, since he has no documents showing that there was a meeting of the minds regarding any Dalia
Clawback right before the Divorce Stipulation was signed and became binding upon Dalia, Sagi relies on a
purported October 30, 2004 phone call to his sister in Fiji to support the supposed meeting of the minds. See
Sagi Statement of Undisputed Facts, No. 4. There were no witnesses to this supposed phone call (Sagi Dep. Tr.
30:8-32:22 (Reply Decl., Ex. 89)), and Orly disputes that this call ever happened. See Orly Response to Sagi
Statement of Undisputed Facts, No. 4; Orly Affidavit J 5 (Reply Decl., Ex. 80).
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divorce.” Id. Neither of these two contentions survives contact with the undisputed facts and
substantive law.
A. There Is No Consideration For Either The Sagi Promise Document Or The

November Document Because The Undisputed Facts Show The Orly Trust
Never Received TRI Shares in 2004

Sagi contends consideration exists because the Orly Trust obtained a “financial
windfall” by “receipt of those [TRI] shares.” Sagi Br. at 10; Operative Compl. § 8. This is
simply not true. The Orly Trust never received the TRI shares, and never received any proceeds.

For years, Sagi (with Dalia’s support) has consistently and successfully argued —
to this Court, to the New York State Courts, and to the Delaware Courts — that any purported TRI
share transfer from TPR to the Orly Trust was ineffective, that the Orly Trust never received any
TRI shares, and that TPR (which is controlled by Sagi) continued to own those shares. See CSF
q{ 55-72. It is now established that, pursuant to the Side Letter Agreement Sagi and TPR
reached with the Trump Group in August 2008, TPR sold the Orly Trust TRI Shares for $10.3
million. The entire $10.3 million is now in TPR’s possession by Order of this Court. CSF
qq 58-61.

Sagi may contend the TRI shares somehow belonged to the Orly Trust and the
Sagi Trust from 2004 until the decision of the Delaware Chancery Court. Any such contention
would be legally meritless. In TR Investors, LLC v. Genger, C.A., No. 3994-CS (the “3994
Action”), the Delaware courts made judicial findings and orders — findings and orders later used
by Sagi to enrich TPR at the Orly Trust’s expense — that expressly preclude any contention that
the 2004 transfers actually occurred:

Arie Genger and the Orly Genger Trust are not (and have not been

since at least the date of execution of the Stockholders Agreement

{in 2001]) the record or beneficial owners of any Trans-Resources
shares.
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All of the transfers of shares of the authorized and issued stock of
Trans-Resources that Arie Genger purported to cause TPR to make
in 2004 (to himself, the Sagi Genger 1993 Trust, and the Orly
Genger 1993 Trust) were in violation of the Stockholders
Agreement).

As a result, the transfers were void, the purportedly transferred
shares continued to be owned by TPR, and Investors and
Glenclova [part of the Trump Group] had the right under Section
3.2 of the Stockholders Agreement to buy all of the shares
purportedly transferred by TPR.

Revised Final Judgment Order in 3994 Action {§ 9, 11-12 (Reply Decl., Ex. 71); Final Judgment
Order in 3994 Action {ff 9, 11-12 (same) (Reply Decl., Ex. 70).

Likewise, the Delaware Supreme Court recognized in the 3994 Action that:

The Side Letter Agreement would be triggered only if the 2004

Transfers were judicially determined to be legally void. In_ that

event, the legal and beneficial ownership of those shares would be
deemed to have remained with TPR.

Genger v. TR Investors, LLC, 26 A.3d 180, 187 (Del. 2011) (Leinbach Decl., Ex. 41).

In August 2013, Sagi (for TPR) and Dalia (for the Orly Trust) entered into a “So-
Ordered” Delaware Stipulation stipulating that

the [2004 Divorce Stipulation] transfers were void and the stock

reverted to TPR, and ... the Trump Group had the right to buy all

of the improperly transferred Trans-Resources stock from TPR.

These determinations and findings were essential to the [Delaware
Chancery] Court’s determinations and findings in the 3994 Action.

So-Ordered Delaware Stipulation at 1-2 (Leinbach Decl., Ex. 44).

In November 2013, TPR commenced an action in this court before the Honorable
John F. Keenan seeking an order transferring the $10.3 million in proceeds from the sale of the
Orly Trust TPR Shares pursuant to the Side Letter Agreement (the “Proceeds”). Repeatedly,
TPR argued that it was entitled to the Proceeds because the Orly Trust TRI Shares had never

belonged to the Orly Trust:
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Namely, the 2004 transfer of shares to Arie and the Orly Genger
1993 Trust (the “Orly Trust”) were found to be invalid [by the
Southern District Court], and the shares rightfully sold by TPR to
the Trump Group.

TPR Brief at 2 (Leinbach Decl., Ex. 46); accord id, at 4 (“TPR adamantly denies that there is
anything ‘unjust’ about it receiving proceeds for the sale of its own corporate assets”). In turn,
Dalia supported Sagi and TPR’s efforts to obtain the Proceeds: “We [Dalia] don’t object if this
Court would direct the escrow[ed millions] be given to TPR.” 4/29/14 Hearing Tr. at 13
(Leinbach Decl., Ex. 48).

Importantly, TPR argued to this Court (and others) that it validly sold the TRI
Shares to the Trump Group under the Side Letter Agreement. 4/29/14 Hearing Tr. at 34 (TPR
Counsel Dellaportas) (“The side letter agreement is in the record. That’s a contract whereby we
[TPR] sold those shares to them.”) (Leinbach Decl., Ex. 48). As determined by the Delaware
Supreme Court, however, such a Side Letter sale could only occur if the 2004 transfers were
“judicially determined to be legally void,” meaning that the “legal and beneficial ownership of

those shares would be deemed to have remained with TPR.” TR Investors, LLC, 26 A.3d at 187.

 

Based on TPR/Sagi and Dalia’s arguments, this Court (Keenan, J.) found that
TPR was “entitled to the Proceeds it received from the Trump Group in consideration of those
[Orly Trust] shares.” See TPR Investment Associates v. Pedowitz & Meister LLP, 2014 U.S.
Dist. LEXIS 67116, *15 (S.D.N.Y. May 15, 2014) (emphasis added). That same day, TPR was
wired the $10.3 million in proceeds. (Leinbach Decl., Ex. 50).’

Sagi, TPR, and Dalia also used their Delaware Stipulation to convince the First

Department to dismiss Orly’s remaining claims in the New York TRI Action:

 

2 TPR also sold the Sagi Trust TRI Shares and Arie TRI Shares to the Trump Group, for a total of approximately

$34 million.
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Moreover, under the 2008 agreement between TPR and the Trump
Group, the sale could only take place after a judicial determination
that TPR is the record and beneficial owner of the Orly Trust’s TRI
shares. When the complaint was filed, it had only been determined
that TPR was the shares’ record owner, but the Delaware Chancery
Court has now also ruled that TPR is the shares’ beneficial owner
(Stipulation & Proposed Order of Dismissal, Dalia Genger v TR
Invs., LLC [Del Ch Ct, Aug. 30, 2013] [C.A. No. 6906-CS}).

Genger v. Genger, 2014 N.Y. App. Div. LEXIS 5390, *13 (1st Dept. July 24, 2014) (Reply
Decl., Ex. 76).

For her part, Dalia is currently suing Arie Genger, both individually and on behalf
of the Orly Trust, in New York Supreme Court, alleging that Arie must pay her and the Orly
Trust the value of the TRI Shares because of his “failure to cause TPR to validly transfer” the
TRI shares to the Orly Trust. See Dalia New York Action Complaint, qj 22, 24 (Reply Decl.,
Ex. 77); CSF § 70-71. She has also recently argued to the New York Surrogate’s Court that “as
several courts have now held that the Trust never received the intended transfer of shares in
Trans-Resources, Inc., we do not see how the Trust will ever be put in funds.” 9/12/14 Dalia
Letter To Surrogate’s Court (Reply Decl., Ex. 78) (emphasis added).

Judicially, logically, and even morally, Sagi and Dalia cannot have it both ways.
Because they have successfully claimed — and are continuing to claim — in other courts
(Delaware Chancery Court, New York State Courts, and this Court) that the TRI Shares and its
Proceeds are not, and have never been, actual assets of the Orly Trust (see CSF § 55-72), they
cannot properly claim here that Orly “received” shares of TRI and a “financial windfall,” and

must now pay Dalia half of that windfall. Indeed, given the above history, Sagi and Dalia are
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judicially estopped from claiming the TRI shares were ever successfully transferred to either
Trust.

The doctrine of judicial estoppel, or estoppel against contrary statements,
precludes a party from playing fast and loose with the Court and judicial system by “framing his
pleadings in a manner inconsistent with a position taken in a prior judicial proceeding.” Kimco
of New York, Inc. v. Devon, 163 A.D.2d 573, 574 (2d Dept. 1990). Where a party’s “former
position has been adopted in some way by the court in the earlier proceeding” (In re Adelphia
Recovery Trust, 634 F.2d 678, 695-96 (2d Cir. 2011)), that party can be judicially stopped from
assuming a contrary position thereafter “simply because his interests have changed.” New
Hampshire v. Maine, 532 U.S. 742, 749 (2001) (applying judicial estoppel to dismiss claim
‘inconsistent with prior position in earlier litigation). Madeira v. United Talmudical Acad. of
Kiryas Yoel, 351 F.Supp.2d 162 (S.D.N.Y. 2004) (dismissing complaint on summary judgment,
and holding plaintiff was judicially estopped from alleging the landowner owned the property for
purposes of establishing liability, as plaintiff had previously stipulated in a judicial proceeding
that the developer owned the property); Intellivision v. Microsoft Corp., 484 Fed. Appx. 616,
622 (2d Cir. 2012) (“The use of judicial estoppel by district courts to preclude inconsistent
assertions about ownership of property is routine”; affirming grant of summary judgment on

judicial estoppel grounds).*

 

Sagi is in privity with TPR, and its positions properly attributable to him. See, e.g., Central Hudson Gas & Elec.
Corp. v. Empresa Naviera Santa, S.A., 56 F.3d 359, 368 (2d Cir. 1995) (party is in privity with former litigant
where “party controlled or substantially participated in the control of the presentation on behalf of a party in the
prior action” and its interests were “identical to the interests” of former litigant). There is no real dispute that
TPR — which is located in Sagi’s Connecticut home — is under Sagi’s control. He has so testified, and the New
York and Delaware Courts has so found. Indeed, not only does Sagi control TPR, he owns it. See CSF 4 5-7
(and exhibits, court decisions, and testimony cited).

See also 18 C. Wright, A. Miller, & E. Cooper, Federal Practice and Procedure, § 4477, p. 782 (1981) (“absent a
good explanation, a party should not be allowed to gain an advantage by litigation on one theory, and then seek
an inconsistent advantage by pursuing an incompatible theory”); Adelphia Recovery Trust v. Goldman Sachs &
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This is the paradigmatic judicial estoppel case. Having successfully adopted the
position that the 2004 transfers were legally void ab initio in prior and current actions (see CSF
4] 55-72), none of Sagi, TPR, or Dalia can properly contend before this Court in this case that
the Orly Trust obtained a “financial windfall” or “received” the TRI shares in 2004.

B. There Is No Consideration For Either The Sagi Promise Document Or The

November Document Because The Undisputed, Admissible Evidence Shows
Dalia Did Not Condition The Divorce Stipulation On A Clawback Right

Dalia and Arie were divorced in October 2004, pursuant to a heavily negotiated
and lawyered Divorce Stipulation. See CSF 79. Sagi and Dalia now contend Dalia would never
have signed the Divorce Stipulation, or transferred the TRI shares, had she not been promised a
clawback right up to 50% of the value of the TPR shares. Sagi Br. at 10. The Divorce
Stipulation, however, is unambiguous and contains no clawback provision. Absent ambiguity,
no parol evidence may be admitted to vary or supplement the terms of a written contract and
insert such a clawback right into the Divorce Stipulation.

“When an agreement is unambiguous on its face, it must be enforced according to
the plain meaning of its terms.” Lockheed Martin Corp. v. Retail Holdings, N.V., 639 F.3d 63,
69 (2d Cir. 2011) (citations and internal quotation marks omitted); W.W.W. Assocs., Inc. v.
Giancontieri, 77 N.Y.2d 157, 162 (1990) (“[W]hen parties set down their agreement in a clear,
complete document, their writing should as a rule be enforced according to its terms.”);

Goldstein v. AccuScan, Inc., 2 N.Y.3d 811, 812 (2004) (same). Here there is no ambiguity, and

 

 

Co.,748 F.3d 110 2d Cir. 2014) (affirming grant of summary judgment on judicial estoppel grounds; dismissed
claim would have required inconsistent judicial finding as to who owned property at issue); United States of
America v. West Productions Ltd., 2001 U.S. Dist. LEXIS, 3665, 14-15 (S.D.N.Y. March 30, 2001) (granting
summary judgment on judicial estoppel grounds); ICN Pharmaceuticals, Inc. v. Bristol-Myers Co., 245 A.D.2d
182, 186 (1st Dept. 1997) (holding that defendant was bound by the doctrine of judicial estoppel from taking a
position before the New York County Supreme Court that was inconstant from a position taken in a prior
arbitration).

 
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no clawback.° To the contrary:

° The Divorce Stipulation specifically provides that the Divorce Stipulation
was immediately binding on Dalia and her heirs “IN ALL CIRCUMSTANCES” “as of
October 26, 2004.” Divorce Stipulation at 51, 56 (Reply Decl., Ex. 65).

° The Divorce Stipulation specifically provides that “[flollowing the
foregoing transfers of the TRI Stock, the Wife will have no ownership interest in TRI.” Id. at 14.

° The Divorce Stipulation contained an “Entire Understanding” Clause (id.
at 53) acknowledging that the Divorce Stipulation “contains the entire understanding of the
parties”:

ENTIRE UNDERSTANDING

This Agreement contains the entire understanding of the parties
who hereby acknowledge that between them there have been and
are no representations, warranties, covenants or undertakings
(whether written or oral, express or implied) with respect to the
subject matter hereof including, without limitation, all rights or
claims arising at law, in equity or pursuant to the parties’ marital

relationship other than those expressly set forth herein or in the
transaction contemplated hereby or entered into concurrently

herewith.

(emphasis added). Dalia chose to sign the Divorce Stipulation containing the foregoing
language. Having chosen to do so, she is bound by it. Lockheed, supra; Giancontieri, supra;
Accuscan, supra.

Neither Dalia nor Sagi can properly shoehorn in a clawback right not contained
within the Divorce Stipulation itself, much less properly claim that this clawback right was “an
express condition to her agreement to sign the divorce papers [and] relinquish her right to the
TRI shares.” Sagi Br. at 10. The Sagi Promise Document is not mentioned in the Divorce
Stipulation, nor is it appended as an exhibit thereto. See Divorce Stipulation (Reply Decl.,

Ex. 65).

 

On a summary judgment motion, the Court decides whether contractual ambiguity exists. Wells Fargo Bank,
Northwest, N.A. v. TACA Int’] Airlines, $.A., 247 F.Supp.2d 352 (S.D.N.Y. 2002). Notably, however, Sagi has
never asserted that the Divorce Stipulation, Sagi Promise Document, or November Document are ambiguous.
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To insert a clawback would improperly “blue pencil” both the Entire
Understanding Clause and Dalia’s agreement that “[flollowing the foregoing transfers of the TRI
Stock, [she] will have no ownership interest in TRI.” This in turn, would violate the rule that
“contracts should be so construed as to give effect to every word and expression contained
therein.” Levine v. 860 West Tower, Inc., 96 Civ. 6124 (LAP), 1999 U.S. Dist. LEXIS 4430,
*10 (S.D.N.Y. March 31, 1999),

Likewise, a court may not rewrite into a contract conditions the parties did not
insert or, under the guise of construction, add or excise terms. Slatt v. Slatt, 64 N.Y.2d 966, 967
(1985); Schmidt v. Magnetic Head Co., 97 A.D.2d 151 (2d Dept. 1983) (“courts may enforce
contracts, but not rewrite them”); Mitchell v. Mitchell, 82 A.D.2d 849 (2d Dept. 1981) (courts
“will not imply a contract term that the parties failed to insert”); HGCD Retail Services, LLC v.
44-45 Broadway Realty Co., 37 A.D.3d 43, 51 (1st Dept. 2006) (“courts may not fashion a new
contract under the guise of contract construction”).

Dalia and Sagi’s attempt to substitute their affidavits and purported oral
understandings for the actual terms of the Divorce Stipulation also violate the Parol Evidence
Rule. “It is well-established that a court may not admit extrinsic evidence in order to determine
the meaning of an unambiguous contract,” Wells Fargo Bank, Northwest, N.A. v. TACA Int’l

Airlines, S.A., 247 F.Supp.2d 352 (S.D.N.Y. 2002) (quoting Omni Quartz v. CVS, 287 F.3d 61,

 

64 (2d Cir. 2002)), or to “prove an oral condition precedent that contradicts or varies” the
contract’s written terms. Mizuna, Ltd. v. Crossland Federal Savings Bank, 90 F.3d 650, 659 (2d
Cir. 1995); Giancontieri, 77 N.Y.2d at 162 (“Evidence outside the four corners of the document
as to what was really intended but unstated or misstated is generally inadmissible to add to or

vary a writing.”); Marine Midland Bank-Southern_v. Thurlow, 53 N.Y.2d 381, 387 (1981)
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(Where the parties have reduced an agreement to an integrated writing, the parol evidence rule
prohibits introduction of any purported evidence of prior or contemporaneous negotiations or
agreements offered to modify or contradict the provisions of the writing.); North Fork Bank &
Trust Co. v. Bernstein & Gershman, 201 A.D.2d 472, 473 (2d Dept. 1994) (same). Indeed, if the
clawback was as important as Dalia and Sagi now claim, it was incumbent upon her to include it,
mention it, or append it to the Divorce Stipulation. Because she failed to do so, Dalia’s collateral

understanding cannot be enforced. See, Mizuna, 90 F.3d at 660; Wells Fargo, 247 F.Supp.2d at

 

369; Lucas v. Oxigene, Inc., 94 Civ. 1691 (MBM), 1995 U.S. Dist. LEXIS 12575, *12 (S.D.N.Y.
Aug. 30, 1995) (parol evidence rule exists to prevent a party from signing a contract “and then
claiming he was induced to sign it by contrary oral representations”).

Even if the Court were to allow parol evidence, contemporaneous parol evidence
conclusively contradicts the self-serving declarations of Sagi, Dalia, and Sagi’s personal
attorney. Specifically:

e A proposed clawback was included in a September 27, 2004 draft of the
Divorce Stipulation. It was removed on October 13, 2004. CFS J 25-27 (and Reply Decl.,
Exs. 66-67). Notably, part of the proposed (and rejected) language stated “Following the
foregoing transfers of the TRI Stock, the Wife will have no ownership interest in TRI, subject to
her rights as contemplated by Section 9(b)(iii) [the proposed clawback right]”. This “subject to”
language was removed, and Dalia’s lack of any continuing rights to the TRI Shares made entire.°

e On October 18, 2004, Sagi’s attorney sent Sagi drafts of the language for a
promise document (hereafter, the “Drafts”). See 10/18/04 Email (Leinbach Decl., Ex. 58). The
Drafts had a signature block for Orly, and provided for the promise of support to Dalia to be joint
and several between Orly and Sagi. Id. No signed version of the Drafts has been produced in
this matter. Leinbach Decl. { 60. No emails or other contemporaneous communications have

 

6 Notably, the proposed clawback was for only 25% per child. See 9/27/2004 Draft (Reply Decl., Ex. 66). This

split accords with Sagi informing Orly on November 10, 2004, that he had unilaterally altered his deal with his
mom: “Since you were in Fiji, I promised to mom her full share interest in TRI instead of only half.” 11/10/04
Email from Sagi to Orly (Leinbach Decl., Ex. 52). Of course, if Orly did not know of the change, there was no
meeting of the minds (indeed no offer communicated for Orly to accept) until November 10, 2004. Sagi tries to
paper over this hole in his case by asserting that he had a private phone call with Orly where he told her about the
change. The fact of this phone call is disputed by Orly (11/13/14 Orly Decl. § 5 (Reply Decl., Ex. 80)) and is
nowhere referenced (as one would expect) in Sagi’s November 10, 2004 Email to Orly.

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been produced showing that these Drafts were ever shared with Arie, Arie’s lawyers, or Orly
prior to execution of the Divorce Stipulation. See CFS {J 21-22, 73-74.

° That Orly would be outside the United States on October 30, 2004 was
known, and Edward Klimerman was appointed as Orly’s attorney-in-fact to sign any documents
related to, or necessary for, the Divorce Stipulation. 11/13/14 Orly Decl. J 6 (Reply Decl.,
Ex. 80). Klimerman did sign one document as Orly’s attorney-in-fact, which document is
appended as the attachment to the Divorce Stipulation With Exhibits, last six pages (Reply Decl.,

Ex. 65). While available at the closing to do so, Mr. Klimerman did not sign any “clawback”
document on Orly’s behalf.

In the end, self-serving affidavits cannot be used to vary or add to the terms of a
written document, or create a material issue of fact preventing summary judgment in Orly’s
favor. Dalia entered into the Divorce Stipulation knowing that (i) she was giving up all rights in
the TRI shares; (ii) there was no clawback right in the final version of the Divorce Stipulation;
(iii) there was an Entire Understanding Clause; and (iv) the Divorce Stipulation was binding on
her and her heirs “IN ALL CIRCUMSTANCES.” Her decision to sign under those
circumstances is binding upon her, and conclusively rebuts any contention that the TRI Shares or
the divorce itself was “consideration” for either the Sagi Promise Document or the November
Document. The consideration for Dalia signing the divorce papers and relinquishing her right to
the TRI shares is exclusively contained in the plain language of the Divorce Stipulation. See
Pimpinello v. Swift & Co., 253 N.Y. 159, 162-63 (1930) (“[t]hat his mind never gave assent to

the terms expressed is not material”),’

 

In an apparent (failed) effort to make Dalia’s signing of the Divorce Stipulation somehow contingent on Orly
signing a document not even created until days later, Sagi claims “the underlying divorce papers were not
delivered to the Court for approval, but instead were held in escrow, until Orly executed a related document
embodying her earlier oral promise to reimburse Sagi for 50% of his support payments to Dalia.” Sagi Br. at 2.
This “non-deliver” fact, even if true, is irrelevant. Dalia was bound to the Divorce Stipulation “IN ALL
CIRCUMSTANCES” upon signing it on October 30, 2004. The Divorce Stipulation so provides. See Divorce
Stipulation at 56 (Reply Decl., Ex. 65). The law so provides. See, e.g., Bohlen Indus., Inc. v. Flint Oil & Gas

Inc., 106 A.D.2d 909, 910 (4th Dept. 1984) (“We reject defendants’ argument that a written contract does not
become effective until delivery.”) (citation omitted); Armour & Co. v. Celic, 294 F.2d 432, 435 (2d Cir. 1961)
(“We know of no principle of law which makes the validity of a contract contingent upon its delivery.”); In re
Roman Crest Fruit, Inc., 35 Bankr. 939, 944 (Bankr. S.D.N.Y. 1983) (no “delivery” requirement for unsealed
contracts); | Corbin on Contracts § 32 at 125 (1963) (effectiveness of ordinary contract is defined in terms of

 

 

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C. There Is No Consideration For Either The Sagi Promise Document Or The
November Document Because The Services Rendered From A Child To A
Parent Out Of Love And Affection Is Not Consideration As A Matter Of New
York Law

It is well-settled New York law that love and affection (or the “emotional and
psychological benefit” derived therefrom) does not constitute consideration. “Services that are
usually rendered by family members ... out of love and affection, or without expectation of
compensation, are presumed to have been rendered gratuitously and do not constitute
consideration ... unless the presumption is overcome by convincing proof ... to pay for specified
services that were performed in exchange for the promise.” In re Estate of Concetta Ciadiello,
2007 N.Y. Misc. LEXIS 2326, *6 (N.Y. Sur. Ct. 2007); McRay v. Citrin, 270 A.D.2d 191, 191
(1st Dept. 2000) (where “[t]he sole consideration given to support defendant’s promise to pay
plaintiff a yearly sum of money [was] plaintiff's promise of ‘love and affection’” this “did not
suffice as a predicate for enforcement of the executory agreement”); Rose v. Elias, 177 A.D.2d
415, 416 (1st Dept. 1991) (affirming trial court’s ruling that love and affection are insufficient
consideration); In re Estate of Camac, 2 Misc.3d 894, 898 (N.Y. Sur. Ct. 2004) (“‘[lJove and
affection’ (especially between a child and a parent) do not constitute consideration” (citation
omitted)); see also Pershall v. Elliott, 249 N.Y. 183, 188 (1928) (“[a] previous moral obligation

is insufficient as a consideration to support an action to enforce an executory contract”) (citation

 

offer and acceptance, not delivery). Further, a supposed oral promise by Orly to indemnify Sagi cannot be used

_to vary or add to the unambiguous terms of the Sagi Promise Document, which obligates only Sagi and does not
reference any obligation by Orly. See W.W.W. Assoes.. Inc. v. Giancontieri, 77 N.Y.2d 157, 162 (1990)
(“Evidence outside the four corners of the document as to what was really intended but unstated or misstated is
generally inadmissible to add to or vary a writing.”) Wells Fargo Bank, Northwest, N.A. v. TACA Int’] Airlines,
S.A., 247 F.Supp.2d 352 (S.D.N.Y. 2002) (“It is well-established that a court may not admit extrinsic evidence in
order to determine the meaning of an unambiguous contract”); Mitchell v. Mitchell, 82 A.D.2d 849 (2d Dept.
1981) (courts “will not imply a contract term that the parties failed to insert”); Lucas v. Oxigene, Inc., 94 Civ.
1691 (MBM), 1995 U.S. Dist. LEXIS 12575, *12 (S.D.N.Y. Aug. 30, 1995) (parol evidence rule exists to
prevent a party from signing a contract “and then claiming he was induced to sign it by contrary oral
representations’).

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omitted).*®

In any event, the document that actually resolved and settled all issues in Arie and
Dalia’s divorce action” was the Divorce Stipulation. See Divorce Stipulation, p. 1 (Reply Decl.,
Ex. 65) (so stating). That Divorce Stipulation, however, already had been signed by Arie and
Dalia, and was binding upon them, well before the November Document was created or signed
by Orly. Id. at p. 56. Thus, any “emotional and psychological benefit” derived from the end of
the divorce process was not derived from the November Document (or even the Sagi Promise
Document), but by the Divorce Stipulation.

D. There Is No Consideration For The November Document Because Past
Consideration Is No Consideration

The November Document is between Sagi and Orly. November Document
(Leinbach Decl., Ex. 1). Sagi provide no consideration of any kind to Orly for the November
Document. The TRI shares were not Sagi’s shares to give. The divorce was not Sagi’s divorce.
In this regard, Sagi’s convenient claim that the Sagi Promise Document was a condition
precedent to the divorce fails under basic rules of contract interpretation and the Parol Evidence
Rule. See Argument, Point I (B).

Moreover, there can be no consideration here because, by November 10, 2004, the

TRI Shares had been transferred (Transfer Agreement (Leinbach Decl., Ex. 31) and the Divorce

 

8 Sagi’s reliance upon Commodities Futures Trading Comm’n v. Walsh, 17 N.Y.3d 162 (2011) (‘Walsh I”) and

Commodities Futures Trading Comm’n v. Walsh, 2014 U.S. Dist. LEXIS 29094 (S.D.N.Y. Feb. 28, 2014)
(“Walsh IP’). (Sagi Br. at 10) is misplaced. Walsh addresses a narrow, limited exception where non-economic
consideration between spouses can be “fair consideration” for a spousal separation agreement. See Walsh I, 17
N.Y.3d at 175-176 (certain forms of non-economic consideration which may be considered “fair consideration”
for a spousal separation agreement incorporated into divorce decree); Walsh II, 2014 U.S. Dist. LEXIS 29094, at
*28 (ex-wife’s non-economic contributions during 23 years of marriage, such as “rais[ing] the children,
supervis[ing] home renovations, manag[ing] the family's finances and relinquish[ing] a lucrative career” was fair
consideration for property received in divorce). The November Document is not a property settlement and does
not distribute marital property. Notably, Sagi does not cite a single case applying this narrow Walsh exception to
a child’s promise to support his/her parent.

 

 

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Stipulation binding “as of October 26, 2004” (Divorce Stipulation, p. 1 (Reply Decl., Ex. 65).
Further, the Sagi Promise Document — another unambiguous document which must be enforced
according to its plain terms (Lockheed, 639 F.3d at 69; Giancontieri, 77 N.Y.2d at 162) — does
not reference any obligation by Orly to pay Dalia any amount.’ To the contrary, the obligation is
consistently and repeatedly Sagi’s alone. See Sagi Promise Document (Leinbach Decl., Ex. 1).
Under these circumstances, Sagi’s efforts, some two weeks later, to make Orly liable for 50% of
his gratuitous promise to his mother is unenforceable, because the only possible consideration
here is “past consideration.”

It is well-settled that past consideration is no consideration. Christensen _v.
Pettersen, 239 A.D. 735 (1st Dept. 1933) (“something which has been given before the promise
is made, and, therefore, without reference to it, cannot, properly speaking be consideration”);
Pershall, 249 N.Y. at 188 (“The doctrine that past consideration is no consideration is well
recognized and universally enforced”); Kastil v. Carro, 145 A.D.2d 388, 389 (1st Dept. 1988)
(granting defendant’s summary judgment motion because “past consideration is no
consideration”); Butcher _v. Gerber Products Co., 8 F.Supp.2d 307, 320 (S.D.N.Y. 1998)
(“promise supported by past consideration is unenforceable because ... since the detriment had
already been incurred. It cannot be said to have been bargained for in exchange for the
promise’); Brunt v. Rauschenberg, 799 F. Supp. 1467, 1471 (S.D.N.Y. 1992) (dismissing claims
based on past consideration as it is “elementary that past consideration is not consideration’)

(citation omitted).!°

 

9 The Parol Evidence Rule applies even in the absence of a merger clause. See Braten v. Bankers Trust Co., 60

N.Y.2d 155 (1983).

10 That past consideration is no consideration also successfully distinguishes Sagi’s claim that there is consideration
here because he suffered a detriment by promising to support Dalia (Sagi Br. at 12). As noted in Butcher v.
Gerber Products Co., 8 F.Supp.2d 307, 320 (S.D.N.Y. 1998) where a detriment has already been incurred it
cannot be consideration, because it cannot be said to have been bargained for in exchange for the new promise.

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In Gutman v. Gutman, 31 A.D.3d 709, 709-10, 819 N.Y.S.2d 771 (2d Dept.

2006), for example, plaintiffs argued that a waiver of the right to challenge a will's testamentary

provision constituted consideration sufficient to form a binding contract. Id. at 709. However,

approximately six weeks prior to executing the contract, the parties executed a separate waiver as

to any such challenge of the testamentary provision. Id. at 709-10. Accordingly, the Second

Department held the contract was unenforceable due to the absence of consideration:

“Generally, past consideration is no consideration and cannot
support an agreement because the detriment did not induce the
promise. That is, since the detriment had already been incurred, it
cannot be said to have been bargained for in exchange for the
promise.”

Id. at 710. See also Butcher, 8 F.Supp.2d at 320 (follow up letter unenforceable as it provided no

additional consideration to an employee who signed it, just recitation of consideration already

provided). Here too, Sagi could offer nothing to his sister, and already had promised his mother.

The November Document is not supported by consideration for this additional reason.

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Equally meritless is Sagi’s contention that the Sagi Promise Document and

November Document have consideration because they are “interrelated” with the Divorce

Stipulation. (Sagi Br. at 2).'?

 

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This is what happened here. Sagi incurred his detriment on October 30, 2004, and it existed whether or not Orly
agreed to indemnify him later. Under those circumstances, Sagi’s detriment is “past consideration” and is no
consideration for the November Document.

A narrow exception to the general rule that past consideration is no consideration is set forth in N.Y. Gen.
Obligations Law § 5-1105, This exception, however, does not apply here. First, § 5-1105 does not apply
because the Sagi Promise Document also fails for lack of consideration. Second, § 5-1105 requires that the
writing “contain an unequivocal promise to pay a sum certain at a date certain.” Umscheid v. Simmacher, 106
A.D.2d 380, 381 (2d Dept. 1984). The November Document does not meet that requirement.

Sagi also contends (Sagi Br. at 11) that the Sagi Promise Document and the November Document are
enforceable together, citing Kurtz v. United States, 156 F. Supp. 99 (S.D.N.Y. 1957) and Nau v. Vulcan Rail &
Constr, Co., 286 N.Y. 188 (1944). His citation is unavailing. In both cases, the contracts which were signed at
different times expressly referenced each other, and thus the later-signed document was found within the four
corners of the first-signed document. Here, Sagi’s unambiguous promise stands alone, and he cannot vary it by
reference to some oral understanding, See Nau, 286 N.Y. at 199 (stating that “if the court finds as a matter of
law that the contract is unambiguous, evidence of the intention and acts of the parties plays no part in the

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As discussed above (Argument, Point I (B)), Sagi’s claim wrongfully ignores both
the four corners of the Divorce Stipulation and the Parol Evidence Rule. When separate
contracts form a single integrated transaction, they have certain indicia, i.e., (i) the agreements
reference one another; (ii) the agreements are executed by the same parties; (iii) the agreements
are executed for the same purpose; and (iv) the agreements are executed contemporaneously. See
Commander Oil Corp. v. Advance Food Service Equip., 991 F.2d 49, 53 (2d Cir. 1993); Carvel
Corp. v. Diversified Management Group, Inc., 930 F.2d 228, 233 (2d Cir. 1990) (“instruments
executed at the same time, by the same parties, for the same purpose and in the course of the
same transaction will be read and interpreted together.”); BWA Corp. v. Alltrans Exp. U.S.A..,
Inc., 112 A.D.2d 850, 852 (1st Dept. 1985) (same).

None of these indicia are met here: (i) the Divorce Stipulation does not reference
the Sagi Promise Document, or the November Document, and the Sagi Promise Document does
not reference the November Document; (ii) the Divorce Stipulation is signed by Arie and Dalia,
the Sagi Promise Document by Dalia and Sagi, and the November Document by Sagi and Orly;
(iii) the Divorce Stipulation was executed to end a divorce action, the Sagi Promise Document
provided funds to Dalia under certain conditions, and the November Document indemnified
Sagi; (iv) the November Document was both created and signed eleven days after the Divorce
Stipulation and Sagi Promise Document were executed, Under these circumstances, the three
documents are not interrelated. See, e.g., Big East Entertainment, Inc. v. Zomba Enterprises,
Inc., 453 F. Supp.2d 788, 799 (S.D.N.Y. 2006) (two agreements not found to be interrelated
because two agreements were not executed by the same parties and each agreement had a

separate purpose; granting summary judgment dismissing complaint).

 

decision of the case.”); cases cited above at Argument, Point I (B) (all holding that parol evidence cannot be used
to vary or add to an unambiguous contract).

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Moreover, the separate Sagi Promise Document and November Document
agreements cannot be part of a single integrated transaction where, as here, their inclusion would
markedly alter the plain terms of the Divorce Stipulation. See Nobel Insurance Co. v. Hudson

Iron Works, Inc., 51 F. Supp.2d 408, 413 (S.D.N.Y. 1999) (documents do not form interrelated

 

transaction where certain documents are “at best, inconclusive, unexecuted, one-sided documents
to markedly alter the terms and plain meaning of” other agreements; granting summary judgment
dismissing complaint); Republic Insurance Co. v. Nobel Insurance Co., 2 F.Supp.2d 548, 549
(S.D.N.Y. 1998) (documents do not form interrelated transaction where “the plain and
unambiguous terms of an executed contract is to be drastically altered by reference to letters that
that do not even qualify as contracts in the own right”; granting summary judgment dismissing
complaint).

Here, the fully-integrated Divorce Stipulation does not contain a clawback, and an
attempt to include one in it was rejected. CFS §{ 25-28; (Reply Decl., Ex. 66, 67). To
incorporate a clawback into the Divorce Stipulation by reference, as Sagi suggests, would
“drastically alter” the Divorce Stipulation and should not be permitted. See Republic Insurance,
2 F.Supp.2d at 549. Indeed, integration of the Sagi Promise Document or the November
Document is expressly prohibited by the “ENTIRE UNDERSTANDING” clause of the Divorce
Stipulation, because they are not “expressly referenced,” “expressly contemplated by,” or
“entered concurrently with” the Divorce Stipulation. Divorce Stipulation, p. 53 (Leinbach Decl.,
Ex. 12).

IL. SAGI GENGER IS NOT ENTITLED TO SUMMARY JUDGMENT (BUT ORLY

GENGER IS) BECAUSE THE NOVEMBER DOCUMENT IS NOT
ENFORCEABLE DUE TO A MUTUAL MATERIAL MISTAKE OF FACT

A “mutual mistake of fact” is “a mistake that is shared and relied on by both

parties to a contract.” BLACK’s LAW DICTIONARY 814 (7" Ed. 2000). A contract based upon a

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material mutual mistake of fact is subject to rescission. Rodriguez v. Mower, 56 A.D.3d 857,
858 (3d Dept. 2008) (granting summary judgment on contract claim based on mutual mistake of
fact); United States v. Williams, 02-CR-1372 (RPP), 2014 U.S. Dist. LEXIS 97367, *16
(S.D.N.Y. July 17, 2014) (voiding plea agreement based upon mutual mistake of fact).

In order to obtain such relief [rescission], it must be shown that the

mistake in question is mutual, substantial, material and exists at the

time the contract is entered. The effect of rescission is to declare

the contract void from its inception and to put or restore the parties
to status quo.

Rodriguez, 56 A.D.3d at 858; Williams, 2014 U.S. Dist. LEXIS 97367, at * 16 (same).

The November Document is subject to rescission because it is based upon a
mutual mistake of fact. Any agreement reached in 2004 was premised on the Genger family
belief that Orly and Sagi were being treated equally in the divorce, with each one getting
equivalent amounts of TRI shares. By the time of Dalia’s “demand” in 2014, the transfers had
been determined to be void ab initio and Sagi (via TPR) had obtained all the shares and all the
value. See CSF ff 43-69. Notably, Judge Keenan’s decision to provide the Proceeds to TPR,
and the First Department’s decision to hold that Orly had no claim to the Orly Trust TRI Shares
or the Proceeds, were both driven by a Stipulation drafted by Sagi and Dalia to create precisely
that result. See CSF ff 55-69.

When the Divorce Stipulation (and related Transfer Document) were executed,
however, Dalia, Sagi and Orly “each reasonably believed that the 2004 Transfers provided for in
the Stipulation of Settlement were valid and enforceable.” Orly 9/20/11 Compl. § 57; Sagi
4/25/13 Answer J 57; Sagi 1/16/14 Dep. Tr. at 178:12-15 (Leinbach Decl., Exs. 32, 33, 14);
Dalia Complaint in Dalia Genger v. Arie Genger, Index No. 113862/2010 (Reply Decl., Ex. 77).
Under Sagi’s theory of the case, the transfer of TRI shares from TPR to the Orly and Sagi Trusts

was a material component of the November Document (as well as the Sagi Promise Document)

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that Dalia, Sagi and Orly relied upon. Operative Complaint {§ 8-9 (Leinbach Decl., Ex. 1). Sagi

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identifies Orly’s “receiving” the TRI Shares as the supposed consideration for the Sagi Promise
Document and the November Document. Id. { 8. Indeed, the Sagi Promise Document expressly
states that the promise is based on Sagi’s understanding that equal amounts of TRI Shares would
be received by Orly and Sagi’s respective trusts:

This letter confirms our understanding with respect to certain
payments that I am prepared to make to you in consideration of the
following. My sister Orly and I are benefiting by the receipt of a
total_of 794.40 shares of Transf-Resources, Inc. (“TRI’), or
beneficial interests in those shares, by trusts for our benefit. In
reliance on this letter and in consideration of the trust’s receipt of
these shares and other consideration, you are giving up valuable
marital rights, and you desire further assurance that you will have
sufficient funds to support your lifestyle.

If you, in your sole and absolute discretion, from time to time
desire funds to support your lifestyle, you may request in writing
that I make payment to you as provided in this letter. Promptly
upon receipt of this request, I will pay to you (1) an amount equal
to all dividends, distributions, proceeds or other payments
attributable to 794.40 shares of TRI (adjusted for any splits or
similar action) that have previously been paid to Orly, me or any
trust for the benefit of either of us, less any amounts previously
paid to you pursuant to this letter, or (2) any lesser amount
indicated in your request.

Sagi Promise Document (Leinbach Decl., Ex. 1) (emphases added).
That equal receipt of TRI Shares benefiting both Sagi and Orly never happened.
Rather, the transfers were determined to be void ab initio and only Sagi benefited. CSF 4] 43-
69. Under the principle of mutual mistake of fact, the November Document is subject to
rescission and, as a result, Sagi’s breach of contract claim fails as a matter of law.
Tl. SAGI GENGER IS NOT ENTITLED TO SUMMARY JUDGMENT BECAUSE
WHETHER SAGI GENGER GAVE ORLY GENGER THE REQUIRED

OPPORTUNITY TO DEFEND BEFORE PAYING DALIA GENGER’S DEMAND
IS A DISPUTED ISSUE OF FACT

An indemnitee cannot seek reimbursement from an indemnitor unless the

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indemnitee first notifies the indemnitor of a potentially covered claim and gives it an opportunity
to defend. See Chase Manhattan Bank v. 264 Water St. Assocs., 222 A.D.2d 229, 231 (1st Dept.
1995) (one who “fails to notify an indemnitor about an impending settlement proceeds at his own
risk”); Perkins & Will Partnership v. Syska & Hennessy & Garfinkel, Marenberg & Associates,
50 A.D.2d 226, 231 (1st Dept. 1975), aff'd on other grounds, 41 N.Y.2d 1045 (1977). If it fails
to do so, the indemnitee “must establish that [it] would have been liable and that there was no
good defense to the liability.” Deutsche Bank Trust_Co. of Ams. v. Tri-Links Inv. Trust, 74
A.D.3d 32, 39 (1st Dept. 2010) (citation omitted); Moving Br. at 18.

On January 22, 2014, Dalia demanded $200,000 from Sagi. Dalia Demand
(Leinbach Decl., Ex. 56). On February 3, 2014, Sagi made a check payable to Dalia in the
amount of $200,000, which was cashed on February 6, 2014. Sagi Check and Statement
(Leinbach Decl., Ex. 61). Orly avers Sagi never gave her or her counsel any notice, or a chance
to defend, before paying Dalia, even though Sagi knew Orly was disputing the validity and
enforceability of the Sagi Promise Document. See Orly Decl. § 10 (Leinbach Decl., Ex. 57);
11/13/14 Orly Decl. § 11 (Reply Decl., Ex. 80); 11/13/14 Harris Decl. J] 3-6 (Reply Decl.,
Ex. 81); Harris Decl. § 5 (Leinbach Decl., Ex. 62); 1/24/14 Email (Leinbach Decl., Ex. 63); CSF
{4 87-92. Sagi claims otherwise. This, therefore, is a disputed material issue of fact preventing
summary judgment in Sagi’s favor because paying a demand without adequate notice and
opportunity to defend waives Sagi’s indemnification claim. See Ballard v. Parkstone Energy,

LLC, 664 F.Supp.2d 325, 330-31 (S.D.N.Y. 2009) (late notice resulted in waiver of buyer’s

 

3 The November Document had an express notice provision. November Document (Leinbach Decl., Ex. 1). Even
if it had no notice provision, however, “the implied covenant of good faith warrants reading into the contractual
procedure a requirement that notice be given within a reasonable time so as to afford a meaningful opportunity of

participation.” Perkins & Will Partnership v. Syska & Hennessy & Garfinkel, Marenberg & Associates, 50
A.D.2d 226, 231 (1st Dept. 1975).

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indemnification claims).

Sagi’s self-serving assertion (Sagi Br. at 13) that notice and opportunity to defend
does not matter, because “there is no viable defense” to the Sagi Promise Document, is incorrect.
Viable defenses do exist, including a lack of consideration, and no “meeting of the minds.” See
Argument, Points I and II. To reiterate one point, there is no consideration where, as here, (i)
Dalia tried to, but failed, to make a clawback part of the consideration for divorcing Arie and
divorced him anyway (CSF {§ 25-28); (ii) Dalia and Sagi successfully convinced a number of
Courts, in part through a Stipulation they wrote and got “so-ordered” by the Delaware Chancery
Court, that the TRI share transfers were void, which allowed TPR to get both the TRI shares and
all proceeds from those shares (id. { 55-72); (iii) Dalia concedes the Orly Trust never received
any TRI shares or funds (id. {] 70-72); and (iv) Dalia is currently suing Arie for $10 million
dollars because of his failure to transfer the TRI shares to the Orly Trust in 2004 (id. {{] 70-71).
Demonstrably, Sagi’s Promise lacks consideration, and is unenforceable by Dalia. Orly should

have been given a proper opportunity to raise this defense before Sagi paid Dalia.

 

Equally unsupported, is Sagi’s assertion that the law of indemnity does not apply
because the November Document is not an indemnity obligation, but “a contribution obligation”
(Sagi Br. at 14). The November Document expressly states that Orly “agree to indemnify,
defend, and hold me harmless, for and against one-half (1/2) of any and all...Claims.” Compl.,
Ex. B (Moving Decl., Ex. 2). This matches the Black’s Law Dictionary definition of indemnity:
“1, A duty to make good any loss, damage, or liability incurred by another. 2. The right of an
injured party to claim reimbursement for its loss, damage, or liability from a person who has
such a duty.” Black’s Law Dictionary 616 (7th ed. 2000). Conversely, Sagi does not cite a

single case to support his argument that the law of indemnity does not apply.

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Finally, Sagi’s claim (Sagi Br. at 14) that Orly repudiated the November
Document in a February 18, 2014 email (attached to May 29 Sagi Decl. as Ex. E) fails. First,
even if Orly’s statement constituted repudiation (it did not), by February 18, 2014 Sagi already
had paid Dalia $200,000, without informing Orly he was about to pay or allowing Orly an
opportunity to defend. Second, “[a] ‘repudiation can be determined to have occurred only when
it is shown that 'the announcement of an intention not to perform was positive and
unequivocal.’” Briarwood Farms, Inc. v. Toll Bros., Inc., 2011 U.S. App. LEXIS 25595, *5 (2d
Cir. Dec. 22, 2011) (quoting DiFolco v. MSNBC Cable L.L.C., 622 F.3d 104, 112 (2d Cir.
2010)). Orly asking Sagi to “Please stop lying about me and about the history” (2/18/14 Email)
is not a “positive and unequivocal” repudiation of anything.
IV. SAGI GENGER IS NOT ENTITLED TO SUMMARY JUDGMENT (BUT ORLY

GENGER IS) ON SAGI GENGER’S EQUITABLE CLAIM FOR PROMISSORY
ESTOPPEL

“To make out a claim for promissory estoppel, a plaintiff must prove (1) a clear
and unambiguous promise, (2) reasonable and foreseeable reliance by the promisee; and (3)
unconscionable injury to the relying party as a result of the reliance.” Princeton Club of New
York, 13 Civ. 8747 (KBF), 2014 U.S. Dist. LEXIS 38560, *9 (S.D.N.Y. March 24, 2014)
(quoting Readco, Inc. v. Marine Midland Bank, 81 F.3d 295, 301 (2d Cir. 1996)); Lampros v.

Banco Do Brasil, S.A., 2013 U.S. App. LEXIS 22316, *3 (2d Cir. Nov. 4, 2013) (promissory

 

estoppel claim fails in the absence of reasonable reliance). Here, Sagi cannot establish that he
reasonably and foreseeably relied upon Orly’s alleged promise in paying Dalia.

On February 6, 2014, when Sagi paid Dalia $200,000 he was already aware that
Orly disputed the validity and enforceability of the Sagi Promise Document and November
Document — and rightfully so. See Argument Points I to III]. Sagi was further aware that he and

his mother have, for many years and via many courts, repudiated the 50-50 split among Sagi and

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Dalia that was contemplated by the family, so that Sagi could have and control all of the TRI
shares and all of the resulting proceeds. Given all this, Sagi could not have reasonably and
foreseeably relied upon any alleged promise at the time he paid Dalia, and there is no equitable
basis for forcing Orly to pay half of everything, when her brother and mother have made sure she
receives nothing. Thus, Sagi’s claim for promissory estoppel fails.

Sagi’s promissory estoppels claim also fails because of Sagi’s unclean hands.
Specifically, Sagi, as President of TPR, promised to do all that was necessary to effectuate the
transfer of TRI shares to his sister:

In case, at any time hereinafter, any further action is necessary or

desirable to carry out the purpose of this Letter Agreement, each of

the parties hereto shall take or cause to be taken all necessary

action, including, without limitation, the execution and delivery of

such further instruments and documents which may be reasonably

requested by any party for such purpose or otherwise to complete
or perfect the transactions contemplated hereby.

Transfer Agreement (Leinbach Decl., Ex. 31). Instead of taking “any further action necessary
to” effectuate the transfer of TRI shares, Sagi instead executed the Side Letter Agreement
agreeing to sell the Orly Trust’s TRI shares. Side Letter Agreement (Leinbach Decl., Ex. 35).

Thereafter, Sagi successfully argued to this Court that TPR — and not the Orly
Trust — was the owner of the Orly Trust TRI shares, and that TPR — and not the Orly Trust —
should received the $10.3 million in proceeds for those shares. Under these circumstances, Sagi
is foreclosed from seeking any equitable relief:

A plaintiff need not have led a blameless life in all respects in
order to invoke equitable relief, but cannot have engaged in
underhanded behavior related to the matter in which he seeks the
relief. On the other hand, with respect to that matter, conduct that
falls short of what is criminal or tortious can transgress equitable
standards. Id. Equity affords wide discretion to the court refusing
to aid the “unclean litigant.” The court is “not bound by any
formula or restrained by any limitation that tends to trammel the
free and just exercise of discretion.” Keystone Driller Co. _v.

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General Excavator Co., 290 U.S. 240, 246, 78 L. Ed. 293, 54S. Ct.
146 (1933). For example, in Fratelli Lozza (USA) Inc. v. Lozza
(USA), 789 F. Supp. 625, 636 (S.D.N.Y. 1992), the court denied
the equitable remedy of rescission to a plaintiff that was itself in
breach of the agreement on which its lawsuit rested. Acting on
similar [*5] principles, the Court of Appeals in Bandes v. Harlow
& Jones, Inc., 852 F.2d 661 (2d Cir. 1988) upheld the district
court’s determination that the former managers of an expropriated
Nicaraguan company that had enjoyed state favoritism under a
prior regime had unclean hands that barred them from laying claim
to the entire interpleaded fund owed to the company. Id. at 668.

 

Enh, Inc. v. International Diffusion SRL, 97 Civ. 3202 (LAP), 1997 U.S. Dist. LEXIS 7665, 4-5

 

(S.D.N.Y. May 30, 1997); see also French v. New York State Dep’t of Educ., 476 Fed. Appx.
468, 472 (2d Cir. 2011) (granting summary judgment because of plaintiffs unclean hands), and
quoting Precision Instrument Mfg. Co. v. Automotive Maint. Machinery Co., 324 U.S. 806, 814
(1945) (the doctrine of “[un]clean hands . . . closes the doors of a court of equity to one tainted

with inequitableness or bad faith relative to the matter in which he seeks relief.”).

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CONCLUSION
Having first taken for himself all the Orly Trust TRI shares and their millions in
proceeds, Sagi now turns around and claims his gratuitous promise to his mother still must be
borne 50-50 by his sister. Sagi is wrong. For each and every one of the reasons set forth above,
Orly Genger respectfully requests the Court (i) deny Sagi’s motion for summary judgment, (ii)
grant Orly motion for summary judgment, dismissing the complaint with prejudice; and (iii)
grant Orly such other and further relief as the Court deems just and proper.

Dated: New York, New York
November 14, 2014 ZEICHNER ELLMAN & KRAUSE LLP

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